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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    PALM BEACH DIVISION

                                 No. 9:15-cv-80073-Rosenberg/Hopkins

   ADT LLC and ADT US HOLDINGS, INC.,

          Plaintiffs,

                  v.

   ALARM PROTECTION LLC, et al.,

         Defendants.
   _______________________________________/


                      ADT’S OPPOSITION (REDACTED)* TO
        DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

          Defendants have now served multiple Rule 12 motions that reassert arguments that Judge
   Ryskamp already rejected, [DE 29] along with new arguments that defendants could have made
   in their first Rule 12 motion but didn’t, in violation of that rule. See FED. R. CIV. P. 12(g)(2).
   Each of defendants’ arguments must be rejected. Their attempt to reargue their already-rejected
   issue-preclusion arguments violates settled Rule 12 procedure, ignores the law of the case, and
   errs in substance. On the merits, defendants’ preclusion arguments are not supported by the trial
   record in the prior action, which is not before this Court on a Rule 12 motion. Moreover,
   defendants’ challenge to the Court’s jurisdiction over six of the defendants fails to offer any
   supporting proof, as the law requires. Finally, defendants’ arguments for striking parts of ADT’s
   complaint likewise ignore settled procedure and the law of the case. The motion must be denied.

   I.     The Motion Violates Rule 12(g).
          At the outset, the Court should deny the motion out of hand because it violates Rule
   12(g), which provides that “a party that makes a motion under this rule must not make another


   *ADT provisionally filed this opposition and its exhibits under seal. [DE 192.] The Court
   sealed the filing and ordered ADT to file this redacted version. [DE 194.]
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   motion under this rule raising a defense or objection that was available to the party but omitted
   from its earlier motion.” FED. R. CIV. P. 12(g)(2). Defendants first served a Rule 12 motion in
   March 2015, more than a year ago, [DE 11] and Judge Ryskamp denied it. [DE 29.] Where, as
   here, “the plaintiff voluntarily serves an amended complaint,” the amendment “will not revive
   the right to present by motion defenses that were available but were not asserted in timely
   fashion prior to the amendment.” 5C C. Wright & A. Miller, FED. PRAC. & PROC.: CIV. 3d §
   1388 (2016); accord, e.g., Krinsk v. SunTrust Banks, Inc., 654 F.3d 1194, 1202 (11th Cir. 2011);
   Regions Bank v. Commonwealth Land Title Ins. Co., No. 11-cv-23257, 2012 WL 5410948, at *3
   (S.D. Fla. Nov. 6, 2012). The rule serves to “eliminate unnecessary delay at the pleading stage.”
   5C Wright & Miller, supra, § 1384. “The defendant cannot delay the filing of a responsive
   pleading by interposing these defenses and objections in piecemeal fashion, but must present
   them simultaneously.” Id.
          That Rule applies here. ADT’s amended complaints did not add any new claims. Instead,
   they deleted the initial complaint’s FDUTPA claim and a number of allegations to which
   defendants had objected. Each of the issues that defendants argue in DE 177 could have been
   argued in DE 11, their initial Rule 12 motion. In fact, defendants did move to dismiss the initial
   complaint on the exact same grounds that they reassert here: That the judgment in the parties’
   prior action, see ADT LLC v. Alarm Protection Technology, LLC, No. 9:12-cv-80898 (“prior

   action”), precludes later actions or claims based on defendants’ offer of “upgrades” to ADT’s
   customers. Defendants there argued that claim preclusion bars this action because this action
   and the prior action are both based on “offers of upgrades to ADT customers.” [DE 11 at 10.]
   They argued, further, that claim preclusion bars this action because this action and the prior
   action both allege that defendants misled customers by “telling customers that they are going to
   provide upgrades.” [DE 11 at 11.] Defendants then extended this argument to issue preclusion,
   and argued there that issue preclusion bars claims in this case based on “upgrade” sales pitches
   because the “identical” issue of customer confusion based on the “upgrade” sales pitch was
   litigated in the prior action. [DE 11 at 14-15.]


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          Judge Ryskamp correctly rejected each of these arguments when he denied defendants’
   first motion to dismiss. [DE 29 at 4-9.] Having already argued and lost this exact same issue
   preclusion argument in DE 11, defendants cannot reargue it again here because Rule 12(g) bars
   it, and also because (as shown below) it is the law of the case. Each of the motion’s other
   arguments – to dismiss for lack of jurisdiction, and to strike ADT’s requests for attorney fees and
   punitive damages – must also be rejected because they too violate Rule 12(g). ADT’s initial
   complaint made the same jurisdictional allegations, and sought both forms of relief that
   defendants attack here, yet defendants’ initial motion did not address them.
          This renewed Rule 12 motion perfectly illustrates the policies that underlie Rule 12(g)(2).
   This case has been pending for over a year, and discovery closes next month, but defendants
   have avoided serving an answer by serving seriatim motions to dismiss in defiance of Rule 12(g)
   and the law of the case. The Court should deny the motion for this reason alone.

   II.    Defendants’ Issue Preclusion Argument Fails Because It
          Ignores The Law Of The Case, It Provides No Basis For
          Dismissal, And It Is Wrong On Its Merits.
          Defendants’ effort to relitigate their issue preclusion argument as a basis for dismissing
   the complaint must be rejected for several additional reasons. The law of the case prohibits it.
   An issue preclusion argument cannot suffice to dismiss a complaint. The argument is wrong on
   its merits. For each reason, the Court should reject it.

          A. The Law Of The Case Bars Defendants’ Issue Preclusion Argument.
          As just shown, defendants’ motion reargues the exact same issue-preclusion arguments
   that defendants already presented in their first motion to dismiss, and that Judge Ryskamp
   rejected. [DE 29 at 9.] That ruling is law of the case. See Musacchio v. United States, 136 S.
   Ct. 709, 716 (2016) (“when a court decides upon a rule of law, that decision should continue to
   govern the same issues in subsequent stages in the same case”); accord, e.g., Lebron v. Sec’y of

   Florida Dep’t of Children & Families, 772 F.3d 1352, 1360 (11th Cir. 2014) (“failure to honor
   its commands can only result in chaos”). Defendants offer no case or argument to suggest that


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   the ruling was clearly erroneous – instead, they simply ignore the heart of that ruling, and
   incorrectly assert in a footnote [DE 74 at 3 n.3] that the ruling left this question undecided. The
   Court should deny the motion because it impermissibly seeks to reargue a matter already decided
   by the Court in this case.

          B. Issue Preclusion Cannot Here Support A Rule 12 Motion.
          Defendants move under Rule 12(b)(6) to “dismiss Counts I and II as to the issue of
   whether or not statements by Defendants regarding upgrades are false, deceptive or misleading.”
   [DE 177 at 15 (emphasis added).] But Rule 12(b)(6) applies to claims, not issues. “The purpose

   of a Rule 12(b)(6) motion is to test the facial sufficiency of the statement of claim for relief.”
   Trustees of Hotel Indus. Pension Fund v. Carol Mgmt. Corp., 880 F. Supp. 1548, 1551 (S.D. Fla.
   1995). Nothing in Rule 12 provides for “dismissals” of particular allegations of a complaint,
   where the remaining allegations still state claims for relief.1 See, e.g., United States v. Robinson,
   No. 12-cv-20319, 2012 WL 3984786, *6 (S.D. Fla. Sept. 11, 2012) (denying motion to dismiss
   that sought to preclude issues that did not dispose of any underlying claim). Defendants seek
   only the “dismissal” of certain allegations that pertain to some of their agents’ “upgrade” sales
   pitches – not the dismissal of the claims that those allegations support. Nor can they: ADT rests
   its claims on over four hundred reported violations of the Lanham Act. As the complaint alleges,
   many of these violations involve “upgrade” sales pitches, but many do not. [DE 174 at 13-31,
   ¶¶ 40-91; cf., e.g., DE 174 at 14, ¶ 41, with id. ¶ 42.] Defendants’ issue preclusion argument
   does not lie under Rule 12 because it cannot dispose of any claim that ADT has asserted. See
   Robinson, 2012 WL 3984786 at *6.
          It also does not lie because preclusion is an affirmative defense that may be asserted in a
   Rule 12 motion, if at all, only where its application is apparent from the face of the complaint
   itself. See Concordia v. Bendekovic, 693 F.2d 1073, 1075-76 (11th Cir. 1982); accord, e.g.,
   1
     Judge Rosenberg has already denied defendants’ prior motion to dismiss, which asserted this
   same argument, [DE 74 at 2] to the extent it sought to strike parts of the complaint. [DE 87.]
   The Court must therefore disregard defendants’ request “in the alternative” to strike the
   “upgrade” allegations, [DE 177 at 2] as contrary to the law of the case. [DE 87.]


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   Eisenberg v. City of Miami Beach, 1 F. Supp. 3d 1327, 1338 (S.D. Fla. 2014); Fye v. Broadspire
   Services, Inc., No. 07-cv-60903, 2007 WL 4557152, *2 (S.D. Fla. Dec. 20, 2007). To consider a
   preclusion defense on a Rule 12 motion, the Court must be able to review the relevant records of
   the prior action. See Johnson v. Girl Scouts of the USA, 596 Fed. Appx. 797, 798 (11th Cir.
   2015). “As a general rule, a court in one case will not take judicial notice of its own records in
   another and distinct case even between the same parties, unless the prior proceedings are
   introduced into evidence.” Concordia, 693 F.2d at 1076; accord State Farm Mut. Auto. Ins. Co.
   v. B & A Diagnostic, Inc., 104 F. Supp. 3d 1366, 1374 (S.D. Fla. 2015) (quoting Concordia).
   Thus, defendants may not argue preclusion on a Rule 12 motion based on documents from an
   earlier lawsuit that are not appended to the complaint. See Fye, 2007 WL 4557152 at *2.
          Here, of course, the trial record of the prior case is not in evidence in this action. Judge
   Ryskamp, who presided over the prior action, and who was intimately familiar with the trial
   record, expressly found in denying defendants’ argument the first time around that “[i]ssue
   preclusion is inapplicable here because the issues presented in the two actions are not identical.”
   [DE 29 at 9.] Because the record of the prior action is not in evidence here, and because the
   Court is constrained by the four corners of the complaint, defendants’ issue preclusion defense
   cannot be granted on a Rule 12 motion. See Concordia, 693 F.2d at 1075; Eisenberg, 1 F. Supp.
   3d at 1339, following Steinberg v. Alpha Fifth Grp., No. 04-cv-60899, 2008 WL 906270 (S.D.

   Fla. Mar. 31, 2008) (Marra, J.); Fye, 2007 WL 4557152 at *2.
          Defendants completely ignore the plain rule stated in Concordia, on which ADT rested
   its oppositions to defendants’ prior motions. [DE 86 at 5-6; DE 108 at 1-2.] Instead, defendants
   ask the Court to take “judicial notice” not of a public record, but of numerous lengthy cherry-
   picked excerpts of the weeklong jury trial record in the prior action that defendants themselves
   say “total hundreds of pages.” [DE 177 at 2 n.1.] Defendants rest their argument on Haddad v.
   Dudek, 784 F. Supp. 2d 1308 (M.D. Fla. 2011), which took notice of another court’s order and
   then only for the “limited purpose of recognizing the ‘judicial act’ that the order represents.”
   Haddad, 784 F. Supp. 2d at 1324. Defendants also cite Stephens v. State Farm Fire & Cas. Co.,


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   2004 WL 5546250 (N.D. Ga. June 23, 2014), but that decision did not consider Concordia’s
   admonition not to base a Rule 12 preclusion argument on “records in another and distinct case.”
   Concordia, 693 F.2d at 1076. Instead, Stephens cites to another Eleventh Circuit decision,
   Bryant v. Avado Brands Inc., 187 F.3d 1271 (11th Cir. l999), which approved judicial notice
   only of a public SEC filing. See Bryant, 187 F.3d at 1279-80. The Eleventh Circuit’s decisions
   plainly, and properly, distinguish the public records of public agencies from the litigation files of
   prior lawsuits. See Bryant, 187 F.3d at 1279-80 (distinguishing SEC records from “evidentiary
   material that is not appropriate at the 12(b)(6) stage”); cf. Concordia, supra. Stephens missed
   this distinction in resting an estoppel on the record of a prior lawsuit on a motion to dismiss
   under Rule 12(b)(6). Moreover, no case has ever suggested that it is appropriate to take judicial
   notice of hundreds of pages of biased excerpts from a complex jury trial record when deciding a
   Rule 12(b)(6) motion. The Court should stay within the four corners of the complaint here.

          C. Issue Preclusion Does Not Apply On Its Merits.
          On top of these several procedural infirmities, defendants’ reliance on issue preclusion
   errs on its merits. Settled Eleventh Circuit precedent bars defendants’ issue preclusion defense
   on the facts defendants allege in their motion.

          The Eleventh Circuit has established three prerequisites for collateral estoppel
          to preclude a claim: (1) the issue at stake must be identical to the one alleged in
          prior litigation; (2) the issue must have been actually litigated in the prior
          litigation; and (3) the determination of the issue must have been a critical and
          necessary part of the judgment in that litigation. Mike Smith Pontiac GMC, Inc.
          v. Mercedes–Benz of North America, Inc., 32 F.3d 528, 532 (11th Cir. 1994);
          Greenblatt v. Drexel Burnham Lambert, Inc. 763 F.2d 1352, 1360 (11th Cir.
          1985).
   Jallali v. Duncan, No. 10-cv-60189, 2010 WL 5418865, at *2 (S.D. Fla. Dec. 9, 2010) aff’d, 437
   Fed. Appx. 862 (11th Cir. 2011). In addition, “the party against whom collateral estoppel is
   asserted must have had a full and fair opportunity to litigate the issue.” Tampa Bay Water v.
   HDR Eng’g, Inc., 731 F.3d 1171, 1180 (11th Cir. 2013). “The party seeking to invoke collateral




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   estoppel bears the burden of proving that the necessary elements have been satisfied.” Matter of
   McWhorter, 887 F.2d 1564, 1566 (11th Cir. 1989).
           Defendants cannot carry this burden with respect to any of these prerequisites. First:
   The various “upgrade” sales pitches alleged in ADT’s Second Amended Complaint are not
   identical, in content or in context, to the sales pitches at issue in the prior action. The jury in the
   prior action heard from only five ADT customers about their reactions at their doorsteps to
   defendants’ sales agents, who claimed to be from “APT.” In this action, ADT has alleged
   exchanges at the doorsteps with hundreds of other ADT customers whose experiences all differ
   from those recounted by the five witnesses at the trial of the prior action. None of the hundreds
   of Lanham Act violations they reported was before the Court in the prior action. They all
   occurred after the close of discovery in the prior action. When ADT sought to include them in
   the prior action, the Court forbade it. [DE 29 at 7.] As the complaint demonstrates, [DE 174 at
   13-31, ¶¶ 40-91] each customer has a unique experience to recount. Even where an upgrade
   pitch was used, the circumstances differ from customer to customer. Judge Ryskamp
   conclusively rejected the notion that these claims are identical, stating: “The claims asserted in
   this lawsuit could not have been litigated in ADT I because the Court denied the parties’ motion
   to incorporate the 2014 claims into ADT I.” [DE 29 at 8.] Further, Judge Ryskamp expressly
   found that defendants’ issue preclusion arguments failed for the same reason: “Issue preclusion

   is inapplicable here because the issues presented in the two actions are not identical.” [DE 29 at
   9.] This is law of the case and defendants offer this Court no reason to disregard it.
           Second: The Court may not preclude ADT from asserting that an “upgrade” sales pitch
   might mislead because the issue was not conclusively litigated in the prior action, and its
   disposition was not a “critical and necessary part of the judgment” in the prior action. The
   record of the prior action is not before the Court. But if it were, the Court would see that the jury
   in the prior action did not return special interrogatories on specific aspects of ADT’s Lanham
   Act claims. The jury found only that, based on all of the circumstances presented to it, the five
   ADT customers the jury heard did not persuade them that they had been confused at the time


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   they signed APT contracts in light of the peculiarities of each’s transaction, the “Clarification
   Questionnaires” that each had signed, or the “Welcome Calls” in which each had participated.
   [DE 29 at 2, 4.] The jury might simply have concluded, for example, that the “upgrade” pitch
   that each customer heard was confusing, but that the confusion was dispelled by later disclosures
   at the time of sale. Such a conclusion cannot logically be extrapolated to mean that the jury
   found the “upgrade” sales pitches not confusing.
          The question of whether upgrade pitches cause consumer confusion thus was a not a
   “critical and necessary part” of the jury’s verdict in the prior action. The jury’s verdict makes it
   impossible to determine the basis of the jury’s decision, and that impossibility precludes
   defendants’ ability to carry their burden to establish that this question was actually litigated to
   conclusion, and that it was a critical and necessary part of the judgment. The Eleventh Circuit
   has rejected the application of issue preclusion where, as here, it is not possible to determine
   from the record the basis of the earlier decision: “An application of collateral estoppel must be
   premised on a clear determination of the issues litigated” in the prior action. French v. Jinright
   & Ryan, P.C., Architects, 735 F.2d 433, 436 (11th Cir. 1984) (no preclusion where “the record is
   not sufficient to show” the basis of the prior decision). Nothing in the record of the prior action
   – which is not before the Court – suggests that the jury necessarily found “upgrade” sales pitches
   not to be confusing.

          Third: Issue preclusion cannot apply here with respect to the “upgrade” sales pitches at
   issue in this case because ADT did not have “a full and fair opportunity to litigate the issue” in
   the prior action. Tampa Bay Water, supra. ADT tried to litigate these claims in the prior action,
   but this Court refused to allow it. This Court thus rejected defendants’ issue preclusion
   arguments in this action because it would be patently unfair to do so: “Furthermore, the Court’s
   denial of the motion [in the prior action] to incorporate the 2014 claims into ADT I deprived
   ADT of any opportunity to litigate the merits of the 2014 claims, much less the ‘full and fair
   opportunity’ that issue preclusion requires.” [DE 29 at 9 (emphasis by Judge Ryskamp).]




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          It is defendants’ burden to prove their entitlement to an issue preclusion defense, see
   McWhorter, supra, but they have no record on which to ground it in this Rule 12 motion. The
   trial record of the prior action is not before the Court. If it were, the Court would readily
   conclude that the jury verdict cannot possibly bear the weight that defendants place upon it.
   Judge Ryskamp, who presided over the trial of the prior action, did not hesitate to reject this
   same argument that issue preclusion somehow inoculates defendants against all further claims
   based on an “upgrade” sales pitch when defendants argued it last year. [DE 29 at 9.] The Court
   must deny this motion, and the only question is whether it chooses to do so because it is wrong
   on the law, or because it ignores the law of the case, or because it violates Rule 12(g)(2), or
   because the record of the prior action is not before the Court.

   III.   In Personam Jurisdiction Lies With Respect To Each Moving Defendant.
          None of the original defendants, and none of the defendants added by the Third Amended
   Complaint, have contested the Court’s jurisdiction over them. [DE 11; DE 74; DE 177.] These
   defendants include Adam Schanz, who owns and controls each of the other defendants; each of
   the national holding and operating companies that own and operate the Alder sales enterprise,2
   and seven of the state-level sales entities.3 All of these defendants are properly before the Court.
   See Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th Cir. 1990) (“a party is deemed to
   have waived any objection to personal jurisdiction or service of process if the party makes a pre-
   answer motion under Rule 12 and fails to include such objections in that motion”).
          Only the six state-level sales entities added by the Second Amended Complaint4 assert
   jurisdictional objections. [DE 177 at 9.] Their arguments disregard the facts ADT has pled, and


   2
    Alarm Protection LLC, Alarm Protection Management LLC, Alarm Protection Technology
   LLC, Alder Holdings LLC, Rhodesian Protection LLC, and Boerboel Protection LLC.

   3The state-level Alarm Protection entities that operate in Alabama, California, Florida, Georgia,
   Mississippi, Tennessee and Texas.

   4The state-level Alarm Protection entities that operate in Alaska, Arkansas, Kentucky, Ohio,
   Oklahoma, and South Carolina.


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   they offer no facts by affidavit to rebut ADT’s plausible allegations, as the Eleventh Circuit
   requires to support a motion to dismiss on jurisdictional grounds. See Meier ex rel. Meier v. Sun
   Int’l Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002); Posner v. Essex Ins. Co., 178 F.3d 1209,
   1214 (11th Cir. 1999). Absent contradictory proof, the Court must accept as true the facts ADT
   alleged in its complaint, and must draw all reasonable inferences from those allegations in
   ADT’s favor. See Abramson v. Walt Disney Co., 132 Fed. Appx. 273, 275 (11th Cir. 2005).
          ADT has alleged the following specific facts, which ADT learned through the course of
   the prior litigation and in discovery in this case, which must be accepted as true and unrebutted
   on this motion:

      •   Adam Schanz created each of the Alarm Protection companies and then transferred his
          interest in each of them to Alarm Protection Holdings without consideration. [DE 72 at
          5, ¶ 15.]

      •   Mr. Schanz, as owner (through Alarm Protection Holdings) and manager of each of the
          Alarm Protection companies, exercises complete control over each. [DE 72 at 5, ¶ 16.]

      •   Mr. Schanz operates all of the Alarm Protection companies as a single enterprise. For
          example, all cash is run through Alarm Protection LLC bank accounts; all credit
          facilities are opened through Alarm Protection LLC; all sales commissions are paid
          by Alarm Protection LLC; all of the enterprise’s vendor contracts are written through
          Alarm Protection LLC; sales agents are shuffled from entity to entity without regard
          to the company with which they in theory have an employment relationship. [DE 174
          at 7-8, ¶ 21.]

      •   Because all cash runs through Alarm Protection LLC, the Alarm Protection state-level
          operating companies are inadequately capitalized. [DE 174 at 10, ¶ 30.]

      •   Each state-level Alarm Protection entity has no employees or physical offices. Each
          relies on Alarm Protection LLC for its operations and support – payroll, accounting, tax,
          marketing, customer support, compliance, and every other function a business entity
          requires to operate. [DE 174 at 10, ¶ 29.]

      •   As a result, each state-level entity is absent from its state of supposed operations,
          except when it is actively fielding sales agents. Apart from door-to-door sales, all
          business is transacted at Alarm Protection LLC’s headquarters in Utah. [DE 174 at 7-
          8, ¶ 31.]




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      •   The state-level Alarm Protection operating entities have no purpose, and no business
          activity, other than to acquire customers for Alarm Protection LLC. [DE 72 at 8, ¶ 22;
          id. at 10, ¶ 29.]

      •   Mr. Schanz moves the various entities’ supposed assets, employees and functions from
          entity to entity without consideration to the entities involved. [DE 174 at 7-9, ¶¶ 17,
          18, 21, 24-27.]

      •   Mr. Schanz has created, for a small alarm company, a Byzantine corporate structure
          consisting of dozens of companies, including the nineteen named as defendants in this
          case, most of which lack corporate records, and none of which appears to have any
          clear purpose, role, or existence as a substantial operating company. [DE 174 at 7-9,
          ¶ 21-27.]

      •   Mr. Schanz has created and employed this Byzantine structure to avoid obli-gations to
          creditors of the enterprise. [DE 174 at 7, ¶ 21; id. at 10-11, ¶ 31-32.]

      •   Mr. Schanz moved the employees, operations, and income of the six defendants who
          now contest jurisdiction to Alder Holdings, [DE 174 at 9, ¶¶ 25-27; id. at 10, ¶ 30]
          which has not contested this Court’s jurisdiction over it, [DE 177] and Alder has since
          operated the alarm sales business in those states using the six objecting defendants’
          assets, income and employees, [DE 174 at 9, ¶ 25] supported now by Alder’s training,
          payroll, accounting, marketing, customer relations and other operating functions. [DE
          174 at 9, ¶¶ 26-27; id. at 10, ¶ 29.]
          These allegations are not, as defendants argue, [DE 177 at 12] mere conclusory
   recitations of the elements required to prove alter ego liability. Instead, they are particularized
   allegations of the concrete facts that, accepted as true for the purposes of this motion, establish
   that the defendants’ corporate distinctions are meaningless; that Mr. Schanz operates the Alarm
   Protection companies as a single enterprise, in disregard of corporate distinctions; that each
   entity exists as Mr. Schanz’s agent and alter ego; and that Mr. Schanz created this confusing
   structure of undercapitalized paper entities to avoid creditors.

          A.      Defendants offer no proof to rebut ADT’s allegations.
          Defendants’ jurisdictional challenge fails from the outset for failure of proof. As just
   shown, ADT has pled specific facts to support its allegations of agency and alter ego liability –
   that the moving defendants exist only on paper, that Mr. Schanz dominates and controls them,



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   that they have no independent existence, that they are not capitalized, and that Mr. Schanz
   created them to confuse and avoid judgment creditors. These particularized allegations state
   each of the elements that defendants themselves identify [DE 177 at 12] for asserting alter ego
   liability under Florida law.
          Defendants made this same jurisdictional attack in August. [DE 98 at 10.] ADT then
   noted [DE 108 at 3] that defendants had failed to offer affidavits to rebut ADT’s allegations, as
   required in a Rule 12(b)(2) motion. See Abramson, 132 Fed. Appx. at 275. The failure to meet
   jurisdictional allegations with affidavits fails the defendants’ burden on a Rule 12(b)(2) motion:

          A plaintiff seeking to obtain jurisdiction over a nonresident defendant initially need
          only allege sufficient facts to make out a prima facie case of jurisdiction. See Electro
          Eng’g Prods. Co. v. Lewis, 352 So. 2d 862, 864 (Fla. 1977). The plaintiff bears the
          burden of proving “by affidavit the basis upon which jurisdiction may be obtained”
          only if the defendant challenging jurisdiction files “affidavits in support of his
          position.” Venetian Salami Co. v. Parthenais, 554 So. 2d 499, 502 (Fla. 1989).
   Posner, 178 F.3d at 1214. Nonetheless, defendants again ignore this basic requirement and again
   fail to offer any rebutting proof by affidavit as the law requires. That failure is fatal to
   defendants’ jurisdictional challenge.
          Although ADT need not come forward with any proof in the absence of rebutting
   affidavits, see Posner, supra; Abramson, supra, ADT notes that discovery in this case confirms
   its allegations. For example, defendants have not produced any financial books or accounting
   records of any sort for the six moving defendants in response to ADT’s discovery requests. For
   two – AP Alaska and AP Arkansas – defendants produced only monthly bank statements for
   checking accounts opened in 2012 in each’s name. (Exhibit 1 (AP Alaska); Exhibit 2 (AP
   Arkansas).) The statements show [REDACTED]. The statements show [REDACTED].5 For
   the other four moving entities, defendants did not produce even monthly bank account

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      Defendants designated these ordinary checking account statements, which show no activity, as
   “Attorneys Eyes Only.” Defendants refuse to remove the AEO designation, and refuse to allow
   ADT to summarize their contents in this brief, (Exhibit 3) so ADT is asking the Court for leave
   to file the brief and exhibits under seal.



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   statements. And in response to ADT’s requests for documents showing the capitalization of each
   entity, defendants produced only the initial bank account statement for AP Alaska (Exhibit 4)
   and AP Arkansas (Exhibit 5) showing [REDACTED]; no other documents for either; and no
   documents whatsoever for the other four moving defendants. These records conclusively
   establish that two of the moving entities were inadequately capitalized at their inception with
   [REDACTED] and that the other four moving defendants were not capitalized at all. These
   records also confirm that the six moving defendants had no economic substance [REDACTED]
   from the time the accounts were opened in 2012 until [REDACTED] September 2016.
          Defendants, in a footnote, ask the Court for permission to provide rebutting evidence if
   the Court credits ADT’s allegations. [DE 177 at 11 n.3.] That request makes no sense. Posner
   places the burden on defendants to rebut ADT’s allegations with affidavits in their motion but
   defendants completely shirked it. Defendants possess all the facts regarding their own operation
   and have no need of discovery to rebut ADT’s allegations. Because defendants have twice now
   failed to offer the rebutting evidence required to support their motion, the Court must credit
   ADT’s allegations and deny the defendants’ jurisdictional challenge for this reason alone.

          B.      Collateral Estoppel Binds The Newly-Added Defendants
          This result, moreover, is mandated by collateral estoppel. As defendants themselves
   argue, [DE 177 at 3] collateral estoppel bars the relitigation of an issue that is identical to one
   actually litigated in a prior action, where the issue decided was a necessary part of the first
   action, and the party or its privy had a full and fair opportunity to litigate it. See Tampa Bay
   Water v. HDR Engineering, Inc., 731 F.3d 1171, 1180 (11th Cir. 2013). Each element is present
   here. When ADT first added Adam Schanz and Alarm Protection LLC6 as defendants to the


   6
      Defendants briefly referred to Alarm Protection LLC in the prior action as “Alarm Protection
   Utah,” as part of a ruse that claimed that Alarm Protection LLC was only a local sales company
   that sold only 100 alarm accounts in the State of Utah instead of the nationwide enterprise that it
   was there proven to be. See ADT LLC v. Alarm Protection Technology Florida LLC, No. 9:12-
   cv-80898, DE 221 (Statement of Undisputed Material Facts) at 3-5, ¶¶ 20-35, for a concise
   summary of the proof adduced in the prior action relating to these facts.


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   prior action, both vigorously asserted these exact same jurisdictional objections, in places
   verbatim. [DE 70-2 at 9-13.] The Court there rejected these objections and found jurisdiction
   over both by crediting the exact same agency and alter ego theories of jurisdiction that ADT
   again offers in greater detail here. [DE 70-3 at 8-10.]
          The Court’s rejection of defendants’ jurisdictional objections in the prior action was
   obviously essential to the prior action because it empowered the Court to adjudicate the claims
   and defenses that the parties tried to the jury last year. Defendants had a full and fair opportunity
   to litigate the Court’s jurisdiction in the prior action: They presented extensive argument to the
   Court on jurisdiction; the Court rejected the argument in a reasoned opinion; defendants chose
   not to pursue an interlocutory appeal; instead, they acquiesced in the Court’s jurisdiction and
   prevailed before the jury.
          Nor is there any question but that Mr. Schanz and Alarm Protection LLC fairly
   represented the interests of the moving defendants as their privies in the prior action. As
   defendants have already argued to this Court, [DE 11 at 5; id. at 13] corporate entities with
   common ownership and control are properly bound as privies of a party to the decision. See
   Griswold v. County of Hillsborough, 598 F.3d 1289, 1292 (11th Cir. 2010), citing Taylor v.
   Sturgell, 553 U.S. 880, 893-95 (2008). The moving defendants, though not parties to the prior
   action, are nonetheless bound by the Court’s prior ruling because Mr. Schanz controls each as

   each’s manager, and because Mr. Schanz ultimately owns each. [DE 174 at 8, ¶¶ 23-24.]
          Each element of an estoppel is indisputably present here. Defendants should be estopped
   from relitigating the Court’s power to adjudicate the claims against them.

          C.      Basic Agency And Alter Ego Rules Support
                  A Finding Of Jurisdiction On These Facts.
          Finally, ADT’s unrebutted allegations on their merits establish the Court’s jurisdiction
   over the moving defendants. The moving defendants are not independent companies. Instead, as
   ADT has pled at length, they are paper devices without economic substance, created by Adam
   Schanz to insulate him from liability for his enterprise’s abusive sales tactics. In this case, ADT


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   has properly pleaded grounds for treating them as alter egos of Mr. Schanz and to hold them in
   the case as his agencies. First, ADT alleged that Mr. Schanz organized each of the moving
   defendants from the outset for the improper purpose of avoiding judgment creditors. Second,
   ADT alleged that the moving defendants are not capitalized, because all customer receipts were
   deposited into Alarm Protection, and now Alder Holdings, bank accounts. Third, ADT alleged
   that these defendants existed solely to funnel sales to Alarm Protection and Mr. Schanz, that Mr.
   Schanz exerts complete control over them, and that they do not control their own assets or staff.
   Defendants offer no proof to contradict these allegations. Defendants’ own argument lists these
   as the elements that ADT must show to establish alter ego liability under Florida law, [DE 177 at
   12, citing Dania Jai-Alai Palace, Inc. v. Sykes, 450 So. 2d 1114 (Fla. 1984)] and ADT’s
   complaint plausibly alleges each with particularity.
          Moreover, the rules of agency require a finding of jurisdiction here. The Eleventh Circuit
   has found that a nonresident may be amenable to personal jurisdiction where it is so controlled
   by a party subject to the Court’s jurisdiction that it must be considered an agent of that party.
   See Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 628-29 (11th Cir. 1996). Agency for
   jurisdictional purposes will be found where the agent entity is found not to exercise “meaningful
   control” over its own business activities. Id. Such an agency will be found for jurisdictional
   purposes where the entity performed no services on behalf of unrelated companies, but instead

   existed solely to profit the controlling entity, functioning “solely to achieve the purpose of the
   dominant corporation.” Meier, 288 F.3d at 1273, quoting State v. Am. Tobacco Co., 707 So. 2d
   851, 855 (Fla. 4th DCA 1998). That is clearly true here.
          Alder Holdings, Alarm Protection LLC and Mr. Schanz, each concededly subject to the
   Court’s jurisdiction, control each of the moving defendants. The Court may therefore extend its
   jurisdiction over the moving defendants under agency and alter ego principles. As the Fifth
   Circuit has stated,

          federal courts have consistently acknowledged that it is compatible with due
          process for a court to exercise personal jurisdiction over an individual or a


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          corporation that would not ordinarily be subject to personal jurisdiction in that
          court when the individual or corporation is an alter ego or successor of a
          corporation that would be subject to personal jurisdiction in that court.
   Patin v. Thoroughbred Power Boats Inc., 294 F.3d 640, 653 (5th Cir. 2002); see id. at 653 n.18
   (collecting cases). Accord, e.g., Mother Doe I v. Al Maktoum, 632 F. Supp. 2d 1130, 1140 (S.D.
   Fla. 2007) (“nonresident shareholder of a corporation doing business in Florida may be subject to
   long-arm jurisdiction under an alter ego theory”). ADT’s allegations, unrebutted by affidavits,
   thus establish jurisdiction over the moving defendants on agency and alter ego grounds.

   IV.    Defendants’ Attacks on ADT’s Damages
          Err On Procedure And On Their Merits.

          Defendants next err by attacking [DE 177 at 13-15] ADT’s claims for punitive damages.
   First: The motion is more than a year too late. Defendants could have argued this point in their
   initial Rule 12 motion, [DE 11] served in March 2015, because ADT’s initial complaint prayed
   for an award of punitive damages on its common-law unfair competition claim. [DE 1 at 32.]
   Defendants lost that motion. [DE 29.] Defendants chose not to challenge the punitive damage
   prayer in that motion. As shown in Part I above, Rule 12(g)(2) bars defendants from challenging
   the punitive damages prayer now in this belated Rule 12 motion at the close of discovery.
          Second: The law of the case precludes defendants from relitigating this challenge, which
   defendants already asserted in their third motion to dismiss. [DE 74 at 8-10.] As shown in Part
   II.B above, a Rule 12(b)(6) motion lies to challenge only claims, see Carol Mgmt., 880 F. Supp.
   at 1551 – not issues, and not prayers for relief. In their first challenge, defendants moved either
   to dismiss the prayer, or else to strike it. [DE 74 at 8-10.] The Court already denied defendants’
   motion to strike the prayer [DE 87] and the motion to dismiss it does not lie. The Court should
   enforce DE 87 here, and bar the relitigation of the punitive damages prayer as law of the case.
          Third: The challenge fails on its merits. Defendants argue, in brief, that Rule 9(g)
   requires that any “item of special damage” be “specifically stated,” and that Fla. Stat. § 768.72
   requires punitive damages to be specifically stated. [DE 177 at 8-10.] This argument
   misconstrues both the reach of the Florida statute as well as the proper application of Rule 9(g).



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   The Eleventh Circuit has expressly rejected the application of Fla. Stat. § 768.72 to the pleading
   of state-law claims in the Federal courts because the statute conflicts with Rule 8’s pleading
   requirements. See Cohen v. Office Depot, Inc., 184 F.3d 1292, 1299 (11th Cir. 1999), vacated in
   part on other grounds, 204 F.3d 1069 (11th Cir. 2000). This Court follows Cohen. See, e.g.,
   Gottwald v. Producers Group I, LLC, 2013 WL 1776154, *2-3 (S.D. Fla. Apr. 25, 2013); see
   generally Ward v. Estaleiro Itajai S/A, 541 F. Supp. 2d 1344 (S.D. Fla. 2008) (examining at
   length the inapplicability of § 768.72 to Federal pleading and discovery practice). Section
   768.72 has no bearing on the pleading standards in this Court for the purposes of Rules 8 or 9.
          Moreover, the argument misconstrues Rule 9(g). No Eleventh Circuit decision has found
   that punitive damages are “special damages” for the purposes of the rule. Defendants rest their
   argument on a Kansas decision [DE 177 at 13, citing Capital Solutions, LLC v. Konica Minolta
   Business Solutions USA, Inc., 2009 WL 1635894 (D. Kan. 2008)] that states a minority position.
   “Generally, punitive damages are not considered to be special damages” because they are
   “completely distinct from compensatory (that is, general and special) damages.” 5A C. Wright
   & A. Miller, FED. PRAC. & PROC.: CIV. 3d § 1311 n.18 (2016). This Court’s decisions are in
   accord. “Special damages consist of items of loss which are peculiar to the party against whom
   the breach was committed and would not be expected to occur regularly to others in similar
   circumstances.” Democratic Rep. of Congo v. Air Capital Grp., LLC, No. 12-cv-20607, 2013

   WL 2318904, *2 (S.D. Fla. May 28, 2013) (internal quotation marks omitted). Special damages
   are a species “of actual, or compensatory damages,” that are “the foreseeable and normal
   consequences of the alleged wrongful conduct.” Id. Special damages “must be the loss of
   money, or some other material temporal advantage capable of being assessed in monetary
   value.” McGowan v. Homeward Residential, Inc., 500 Fed. Appx. 882, 886 (11th Cir. 2012).
          These definitions exclude punitive damages. Punitive damages are not actual or
   compensatory damages. They are not measurable losses to which one may assign a monetary
   value. They do not flow from some idiosyncratic loss “peculiar to the party against whom the
   breach was committed.” Democratic Rep. of Congo, supra. Instead, they are penalties imposed


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   to redress willful misconduct, that flow from the social goals of deterring bad behavior. Thus, in
   a case that pled punitive damages, this Court excluded the punitive damages demand from its
   discussion of special damages pled in the case. See Landsman v. City of Vero Beach, No. 13-cv-
   14375, 2015 WL 10960951, *2 - *3 (S.D. Fla. Oct. 21, 2015). Landsman’s exclusion of punitive
   damages from its analysis of Rule 9(g)’s treatment of special damages best applies the
   definitions of “special damages” to prayers for punitive damages. Any different result would
   indirectly apply Fla. Stat. § 768.27’s pleading requirements in Federal cases, contrary to Cohen.
          Finally, when Rule 9(g) does apply, it requires no more than “a specific statement that
   allows defendants to prepare a responsive pleading and begin their defense,” that can be set forth
   in a single paragraph. Brennan v. City of Minneola, 723 F. Supp. 1442, 1444 (M.D. Fla. 1989).
   ADT has amply pled with particularity facts to support its prayer for punitive damages. Punitive
   damages lie where the defendant has acted willfully with gross disregard of the plaintiff’s rights.
   See Clark v. Beville, 730 F.2d 739, 741 (11th Cir. 1984). ADT has pled numerous concrete facts
   that support such an inference, [DE 174 at 13-31, ¶¶ 40-91] as well as conclusions of willful
   misconduct in disregard of ADT’s rights. For example: “At all times material to this action,
   defendants and their sales agents have tailored their sales pitches to confuse ADT’s customers.”
   [DE 174 at 31, ¶ 93.] Again: “Defendants, through their respective sales agents, made these false
   representations to ADT’s customers with the intent of deceiving ADT’s customers as to a

   relationship or affiliation with ADT that does not exist.” [DE 174 at 33, ¶ 99.] And ADT, as
   shown in Part III above, has amply pled that the defendants are all alter egos of Adam Schanz,
   sufficiently identifying each to willful torts of defendants’ sales agents in this case.
          The law affords ADT a clear right to seek punitive damages under its unfair competition
   claim. “Defendants’ violation of the Florida common law of unfair competition entitles plaintiff
   to an award of punitive damages.” United Feature Syndicate, Inc. v. Sunrise Mold Co., 569 F.
   Supp. 1475, 1481 (S.D. Fla. 1983), citing Miami Beach Lerner Shops, Inc. v. Walco Mfg. of
   Florida, Inc., 106 So.2d 233, 236 (Fla. 3d DCA 1958); see, e.g., St. Luke’s Cataract & Laser
   Inst., P.A. v. Sanderson, 573 F.3d 1186, 1200 (11th Cir. 2009) (noting award of punitive


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   damages on Florida unfair competition claim). ADT has pled ample facts to support its prayer.
   The Court should deny the motion on its merits.

   V.     The Court Has Already Denied Defendants’
          Attacks on ADT’s Request For Attorney Fees.
          Finally, defendants ask the Court to “dismiss” ADT’s prayer for attorney fees on its
   common-law claim. As shown above, a Rule 12(b)(6) motion addresses claims, not issues, and
   not prayers for relief. Defendants already moved to strike the attorney fee request in DE 74.
   Judge Rosenberg denied it. [DE 87.] The Court’s denial is law of the case, and defendants
   should not be allowed to relitigate it here.

                                             CONCLUSION

          The motion should be denied.

   Dated: December 21, 2016                       Respectfully submitted,

                                                  s/C. Sanders McNew
                                                  _______________________________________________________________________

                                                  C. Sanders McNew
                                                  mcnew@mcnew.net
                                                  Florida Bar No. 0090561
                                                  McNEW P.A.
                                                  2385 NW Executive Center Drive, Suite 100
                                                  Boca Raton, Florida 33431
                                                  Tel: (561) 299-0257

                                                  Richard G. Sander (pro hac vice)
                                                  rsander@shb.com
                                                  Kali R. Backer (pro hac vice)
                                                  kbacker@shb.com
                                                  Eric J. Hobbs (pro hac vice)
                                                  ehobbs@shb.com
                                                  SHOOK, HARDY & BACON LLP
                                                  1660 17th Street, Suite 450
                                                  Denver, Colorado 80202
                                                  Tel: (303) 285-5300

                                                  Counsel for the Plaintiffs, ADT LLC
                                                   -and- ADT US Holdings, Inc.




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 21st day of December, 2016, I caused a true and correct copy
   of the foregoing Opposition to be served by email and also by CM/ECF on all parties listed to
   receive electronic service for this case, as listed below:

                                        CM/ECF Participants

                                         Michael Marcil, Esq.
                                         Jennifer Nicole, Esq.


                                                             s/ C. Sanders McNew
                                                        ______________________________
                                                                C. Sanders McNew




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